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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        JANE DOE,
                                   7                                                        Case No. 18-cv-02420-DMR
                                                       Plaintiff,
                                   8
                                                v.                                          ORDER OF CONDITIONAL
                                   9                                                        DISMISSAL
                                        VIRGIN AMERICA, INC., et al.,
                                  10
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The court has been notified of the settlement of this action, and it appears that no issue

                                  14   remains for the court’s determination.

                                  15          IT IS HEREBY ORDERED that this action and all claims asserted herein are DISMISSED

                                  16   with prejudice. In the event that the settlement is not reached, any party may move to reopen the

                                  17   case and the trial will be rescheduled, provided that such motion is filed within 90 days of this

                                  18   order. All scheduled dates, including the trial and pretrial dates, are VACATED.

                                  19

                                  20          IT IS SO ORDERED.

                                  21   Dated: December 3, 2018

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                                                                                        DONNA M. RYU
                                  23                                                    United States Magistrate Judge
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